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UNITED STATES DISTRICT COURT

DISTRICT OF MAINE

JOHN KATULA )

)

Plaintiff )

)

Vv. )
) Docket No. 2:20-cy-

OFFICER VINAL THOMPSON, UNKNOWN )

OFFICERS, UNKNOWN SUPERVISOR, )

CUMBERLAND COUNTY SHERIFF KEVIN J. }

JOYCE and CUMBERLAND COUNTY )

)

)

Defendants )

COMPLAINT AND DEMAND FOR JURY TRIAL
NOW COMES the Plaintiff in the above-entitled matter and states as follows:
Nature of Action

This is a case of police brutality arising out of an incident on July 7, 2020 in which
Cumberland County Jail (“CCI”) Corrections Officer (“CO”) Vinal Thompson and other CCI
Corrections Officers - whose identities are presently unknown - used wildly excessive force
against Mr. Katula, a pre-trial detainee. CO Thompson viciously assaulted Mr, Katula, while
one or more other COs subdued him, without provocation or justification, resulting in a badly
broken nose requiring surgery and leaving permanent injuries, as well as other injuries

Parties
1. Plaintiff John Katula (“Katula”) was a resident of Brunswick, Maine at all relevant times,

2. Defendant Vinal Thompson was a Cumberland County Jail Corrections Officer as of July

7, 2020.
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11.

Defendant Unknown Officers were Cumberland County Jail Corrections Officers on July
7, 2020.
Defendant Unknown Supervisor is, on information and belief, an employee of
Cumberland County Jail, part of Cumberland County, and was so at all relevant times.
Defendant Kevin J. Joyce (“Joyce”) was the acting Cumberland County Sheriff during all
relevant times.
Defendant County of Cumberland is a county in the State of Maine.

Subject Matter Jurisdiction
This action arises under the United States Constitution, particularly under the provisions
of the Fourth, Fifth, 8", and Fourteenth Amendments to the Constitution of the United
States, and under Federal Law, particularly the Civil Rights Act, 42 U.S.C. § 1983.
This Court has jurisdiction of this cause under and by virtue of 28 U.S.C. § 1343 and 28
U.S.C. § 1331.
This Honorable Court may exercise pendent jurisdiction over the related state law claims
pursuant to 28 U.S.C. § 1367.

Personal Jurisdiction

 

This Honorable Court wields jurisdiction over each of the Defendants named herein

pursuant to 14 MLR.S.A. §704-A in that each of the Defendants is domiciled in the State

of Maine,
Venue
Venue is properly laid before this Honorable Court pursuant to 28 U.S.C. § 1391 and Rule

9a) of the rules of the United States District Court for the District of Maine in that all of

the acts complained of occurred in the southern half of the State of Maine.
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Common Nucleus of Operative Fact
On July 7, 2020, Mr. Katula was a pre-trial detainee at Cumberland County Jail (“CCI”).
On July 7, 2020, Mr. Katula had not been convicted of a crime, but had merely been
charged and was awaiting trial,
At some point in the morning, Defendant Thompson demanded that Mr. Katula undergo a
urine test.
Mr. Katula attempted to cooperate but had some difficulty producing urine.
Defendant Thompson humiliated Mr. Katula by calling Mr. Katula names such as “drug
addict” in front of several other inmates and Correction Officers.
Defendant Thompson tried to upset Mr. Katula, tried to cause him to act out.
Mr. Katula did not lash out or otherwise threaten Defendant Thompson.
Defendant Thompson ordered Mr. Katula to comply with being hand-cuffed.
Mr. Katula extended his hands to be handcuffed.
Defendant Thompson and another unnamed Corrections Officer(s) pinned Mr. Katula’s
arms to his sides.
Mr. Katula was subdued.
At this point, while Mr. Katula was subdued, Defendant Thompson viciously attacked
Mr. Katula, landing several forceful blows on his face.
Defendant Thompson also tackled Mr. Katula.
Mr. Katula lost consciousness.
. Mr. Katula sustained a severely broken nose.
. Mr. Katula sustained other injuries to his right shoulder and knee.

- Mr. Katula required surgery to repair his severely broken nose.
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29. Mr. Katula suffered significant pain, emotional distress and suffering.

30. Mr. Katula suffered permanent injuries from Defendant Thompson’s vicious attack.

31. On information and belief this entire incident was captured on video now in the
possession of the Defendants.

32. Despite several requests, Defendants have not provided a copy of this video to Mr.
Katula.

33. No criminal charges were pursued by CCI against Mr. Katula as a result of the July 7,
2020 incident.

34. Mr. Katula was not charged with any violation of jail rules by CCJ as a result of the July
7, 2020 incident.

35. Mr. Katula filed a Notice of Claim on or about July 15, 2020 and again, on October 15,
2020 because, presumably due to COVID-19, the first attempt was not accepted.

36. Mr. Katula demands a trial by jury.

Count I: 42 U.S.C. §1983 Violation v. Officers Defendant Thompson, and Unknown
Officers

37, Plaintiff repeats and realleges the allegations contained in the previous paragraphs.

38. As indicated above, Defendant Thompson and Unknown Officers, under color of state
law, subjected Mr. Katula to a deprivation of his constitutional rights, specifically his
clearly established rights to (1) be free from unreasonable searches and seizures, (2)
bodily integrity, (3) be free of the use of unreasonable force, (4) be free of deliberately
indifferent conduct likely to cause severe harm, (5) be free of conscious-shocking
conduct likely to cause severe harm, and (6) substantive and procedural due process,

protected by the United States Constitution and State and Federal Law.
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39. Defendants’ actions displayed a reckless or callous disregard of, or indifference to, the
tights of Mr. Katula.

WHEREFORE, Mr. Katula requests that this Honorable Court (1) enter judgment for
Plaintiff in an amount that fully and completely compensates him for the injuries he has
sustained, (2) award Mr. Katula punitive damages, attorney's fees and costs pursuant to 42
U.S.C. § 1983, and (3) award such other and further relief as this Honorable Court deems just
and proper.

Count IT: 42 U.S.C. §1983 Supervisory Violation v. Unknown Supervisor Defendant
and Defendant Joyce

40. Plaintiff repeats and realleges the allegations contained in the previous paragraphs.

41. Upon information and belief, Defendant Supervisor took no reasonable steps to
protect Mr. Katula’s constitutional rights from being violated by Defendant Thompson
and others.

42. Upon information and belief, Defendant Thompson has been involved in other incidents
that have led to complaints being lodged about his excessive use of force and/or
inappropriate and/or unlawful or unconstitutional conduct.

43. Upon information and belief, Defendant Thompson has been disciplined or should have
been disciplined numerous times for his excessive use of force and/or inappropriate
conduct.

44. Upon information and belief, Defendant Supervisor and Defendant Joyce knew
or should have known that Defendant Thompson had a reputation for violent and/or

inappropriate/unlawful conduct.
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45. Upon information and belief, Defendant Supervisor and Defendant Joyce did
not take reasonable steps to supervise or discipline Defendant Thompson or to minimize
the risk of harm that Defendant Thompson presented to the CCJ prisoners.

46. Upon information and belief, any reasonably well-trained supervisor would have
recognized that Defendant Thompson, if not properly disciplined and supervised, would
cause harm to the CCJ prisoners.

47. Defendant Supervisor __’s and Defendant Joyce’s conduct or inaction in supervising
and/or disciplining the Defendant Thompson amounts to either deliberate, reckless or
callous indifference to the constitutional tights of others, including Mr. Katula.

48. On information and belief, Defendant Supervisor___ and Defendant Joyce failed to
properly train Officer Thompson and others with regard to the appropriate use of force
against CCJ inmates.

49. An affirmative link exists between the street level constitutional violations perpetrated by
Defendant Thompson and Defendant Supervisor ___’s and Defendant Joyce’s failure
to a) properly supervise and/or discipline Officer Thompson and/or b) promulgate
appropriate policies regarding dealing with CCJ prisoners, and the use of force and c)
train his officers, including Officer Thompson, on dealing with prisoners.

50. Defendant Supervisor __—_’s and Defendant Joyce actions displayed a reckless or
callous disregard of, or indifference to, the rights of Mr. Katula.

WHEREFORE, Plaintiff Katula requests that this Honorable Court (1) enter Plaintiff
Judgment in an amount that fully and completely compensates him for the injuries he has
sustained, (2) award Mr. Katula punitive damages, attorney's fees and costs, and (3) award such

other and further relief as this Honorable Court deems just and proper.
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Count TH: 42 U.S.C. 81983 Municipal Violation vy. Cumberland County

51. Plaintiff repeats and realleges the allegations contained in the previous paragraphs.

52. The customs or policies of the County of Cumberland comprise the cause of and the
moving force behind the constitutional violations chronicled in this Complaint,

23. At all relevant times, Defendant Joyce was acting Sheriff of Cumberland.

34. At all relevant times Defendant Joyce was a policymaker within the Cumberland County
hierarchy.

55. At all relevant times, on information and belief, Defendant Joyce, as a policymaker for
Cumberland County, adopted a custom or policy of abdicating any appropriate level of
supervision and/or discipline of Defendant Thompson.

56, At all relevant times, on information and belief, Defendant Joyce, as a policymaker for
Cumberland County, adopted a custom or policy of permitting his officers to use
excessive force against the prisoners in Cumberland County Jail.

57. This laissez faire approach to the use of force by his officers amounts to an
unconstitutional custom or policy.

58. It was or should have been eminently foreseeable to Defendant Joyce that allowing his
officers to use force under circumstances which did not require that level of force would
inevitably result in the violation of citizens’ civil rights, as happened in the instant case.

59. Defendant Cumberland County’s actions displayed a reckless or callous disregard of, or
indifference to, the rights of Mr. Katula.

WHEREFORE, Plaintiff. Mr. Katula requests that this Honorable Court (1) enter Plaintiff

judgment in an amount that fully and completely compensates him for the injuries he has
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sustained, (2) award Mr. Katula attorney's fees and costs, and (3) award such other and further
relief as this Honorable Court deems just and proper.
Count IV: Assault v. Defendant Thompson and other Unnamed Officers
60. Plaintiff repeats and realleges the allegations contained in the previous paragraphs.
61. The actions taken by Defendant Thompson and other officers on July 7, 2020 comprise
an unreasonable use of force against Mr. Katula, an unjustified assault.
62. The assaultive behavior was taken in bad faith.
63. The assaultive behavior was malicious or impliedly malicious.
WHEREFORE, Plaintiff Mr. Katula requests that this Honorable Court (1) enter Plaintiff
judgment in an amount that fully and completely compensates him for the injuries he has
sustained, (2) award Mr. Katula punitive damages, attorney's fees and costs, and (3) award such

other and further relief as this Honorable Court deems just and proper.

   

 

Dated: 10/19/2020 \| Yi Michael J. Waxman

1006 Forest Ave
Portland, Maine 04103
(207) 772-9558
